                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF IOWA
                                       EASTERN DIVISION

                                                   )
Scott Clickner,                                    )      Case No. 1:22-cv-101
                                                   )
        Plaintiff,                                 )
v.                                                 )      Defendant’s Notice of Removal
                                                   )
Prairie Farms Dairy, Inc.,                         )
                                                   )
        Defendant.                                 )
                                                   )

        COMES NOW Defendant Prairie Farms Dairy, Inc., a cooperative association with capital

stock formed under and existing under the laws of the State of Illinois with its principal place of

business in Edwardsville, Illinois, and removes the above-captioned civil action from the Iowa

District Court in and for Clayton County, Case No. LACV011036, to the United States District

Court for the Northern District of Iowa, Eastern Division, pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446, Federal Rule of Civil Procedure 81, and Local Rule 81.

        As grounds for removal, Defendant states as follows:

        1.        Plaintiff Scott Clickner filed his Petition and Jury Demand on August 5, 2022, in

the Iowa District Court for Clayton County. In his Petition, Plaintiff alleges Defendant engaged

in disability and age discrimination in violation of Iowa Code Chapter 216.

        2.        Service of the summons and complaint on Defendant occurred effective on

August 10, 2022.

        3.        No further proceedings in the Iowa District Court for Clayton County have

occurred in this action.




US.351856800.03                         1
              Case 1:22-cv-00101 Document 1 Filed 09/09/22 Page 1 of 3
        4.        Pursuant to 28 U.S.C. § 1446(b) and Murphy Brothers, Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344 (1999), Defendant has timely removed this action because this

Notice of Removal is filed within 30 days after personal service of the summons and complaint.

        5.        As required by Local Rule 81(a)(4), Defendant states that for purposes of removal

of this action from state court, this is an action where the amount in controversy for Plaintiff’s

claim exceeds the sum of $75,000, exclusive of interest and costs, and is between citizens of

different states.

        6.        At the time this action commenced, Plaintiff was and currently remains a citizen

and resident of the State of Iowa, Clayton County.

        7.        At the time this action commenced, and as currently remains true, Defendant is a

special act corporation with an incorporation date of June 3, 1971 incorporated pursuant to and in

good standing under the laws of the State of Illinois with its principal place of business in

Edwardsville, Illinois.

        8.        Thus, because complete diversity of the parties exists and the amount in

controversy exceeds $75,000, 28 U.S.C. § 1332(a) vests this Court with original jurisdiction over

this action and authorizes removal to this Court pursuant to § 1441(a).

        9.        Based upon the allegations in Plaintiff’s Petition, the correct venue for removal of

this action is to the United States District Court for the Northern District of Iowa, Eastern

Division because it is the “district and division embracing the place where such action is

pending.” See 28 U.S.C. § 1441(a).

        10.       In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and

orders provided to Defendant in this action are attached as Exhibit “A” and by this reference

incorporated here.



US.351856800.03                         2
              Case 1:22-cv-00101 Document 1 Filed 09/09/22 Page 2 of 3
        11.       In accordance with 28 U.S.C. § 1446(d), a copy of this Notice of Removal is

being filed with the Clerk of the Iowa District Court for Clayton County and is being served on

all adverse parties.

        WHEREFORE, Defendant gives notice that the above-entitled action is removed from the

Iowa District Court in and for Clayton County.

Dated: September 9, 2022.                           FAEGRE DRINKER BIDDLE & REATH LLP

                                                    /s/ Susan P. Elgin
                                                    Susan P. Elgin, Lead Counsel
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                                                    ATTORNEYS FOR DEFENDANT

                                        Certificate of Service

       The undersigned certifies that a true copy of Defendant’s Notice of Removal was served
upon one of the attorneys of record for each party to the above-entitled cause through the Court’s
CM/ECF electronic filing system to each such attorney at her last known e-mail address as
shown below on September 9, 2022.

                                                      /s/ Trisha Richey
Original filed;
Copy to:

Erin M. Tucker
 erintucker@tuckerlaw.net

Attorney for Plaintiff




US.351856800.03                         3
              Case 1:22-cv-00101 Document 1 Filed 09/09/22 Page 3 of 3
